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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

IN RE: TESTOSTERONE                                MDL No. 2545
REPLACEMENT THERAPY PRODUCTS
LIABILITY LITIGATION                               Master Docket Case No. 1:14-cv-01748

                                                   Honorable Matthew F. Kennelly
THIS DOCUMENTS RELATES TO:

Casey Brubaker, et al. v. Actavis, Inc., et al.,
Case No. 15-cv-0426 and
Brad Martin, et al. v. Actavis, Inc., et al.,
Case No. 15-cv-4292



        ACTAVIS DEFENDANTS’ PROPOSAL REGARDING SELECTION OF THE
              ACTAVIS-ONLY BELLWETHER TRIAL CASE FOR THE
                       AUGUST 6, 2018 TRIAL SETTING

         Pursuant to Case Management Order No. 88, Defendants Actavis, Inc., Actavis Pharma,

Inc. Actavis Laboratories UT, Inc. and Anda, Inc. (hereinafter “Actavis Defendants”) submit the

following brief in support of their request that the Court select the case Casey Brubaker, et al. v.

Actavis, Inc., et al., Case No. 15-cv-0426, as the Actavis-only Bellwether Trial Case for the

August 6, 2018, trial setting. Actavis Defendants further request that the Court select the case

Brad Martin, et al. v. Actavis, Inc., et al., Case No. 15-cv-4292, as the Alternate Bellwether Trial

Case.

I.       BACKGROUND

         A.     Procedural History

         On December 8, 2017, pursuant to the requirements of Case Management Order No. 37,

the parties submitted a Joint Status Report advising the Court that the parties agreed to select one

myocardial infarction case each for later designation as the Bellwether Trial Case and the
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Alternate Bellwether Trial Case. Actavis Defendants chose Casey Brubaker, et al. v. Actavis,

Inc., et al., Case No. 15-cv-0426 (hereinafter “the Brubaker case”), and the PSC chose Brad

Martin, et al. v. Actavis, Inc., et al., Case No. 15-cv-4292 (hereinafter “the Martin case”). Both

cases were PSC selections for the bellwether discovery pool.

        On December 13, 2017, the Court issued CMO No. 88, selecting the Brubaker case and

the Martin case as the two cases for later nomination as the Bellwether Trial Case and the

Alternative Bellwether Trial Case. Accordingly, pursuant to CMO Nos. 37 and 88, the question

before the Court is whether the Brubaker case or the Martin case will be set for the August 6,

2018, Actavis-only bellwether trial. The case not selected by the Court will be the Alternate

Bellwether Trial Case in the event the case initially selected is dismissed or otherwise resolved

prior to trial.

        B.        The Brubaker Case

        Plaintiff Casey Brubaker was born July 18, 1972. He is married with two children. He is

a resident of Corona, California. Mr. Brubaker was 41 years old at the time he filled his first

prescription for Androderm on December 13, 2013. He was prescribed Androderm by

Physician’s Assistant (PA) Carrington Horton. Mr. Brubaker testified that he specifically asked

PA Horton to prescribe Androgel for him after he had seen television commercials for Androgel

and Axiron. Mr. Brubaker’s total testosterone level was measured at 137 ng/dl.

        Notwithstanding Mr. Brubaker’s request, PA Horton initially prescribed Testim.

However, Testim was not covered by his insurance, and Mr. Brubaker’s prescription was

switched to Androderm because it was covered by his insurance. Mr. Brubaker never heard of

Androderm until it was dispensed to him. Mr. Brubaker filled prescriptions for Androderm at

Stater Brothers Super Rx Pharmacy on December 13, 2013, and February 13, 2014. He claims



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he began taking Androderm on or about December 13, 2013, and he claims he used it until the

time of his injury in March 2014.

       On or about March 1, 2014, Mr. Brubaker began having chest pains that he attributed to a

chest cold. The medical records indicate he initially went to the emergency room on March 3,

2014, complaining of chest pains, and he was evaluated for a myocardial infarction. A blood test

revealed elevated troponin levels. It was recommended that he be admitted for further

evaluation. Mr. Brubaker refused admission because he had a job interview the next day, and he

left the hospital. Mr. Brubaker returned to the same emergency room the evening of March 4,

2014, after his chest pains worsened. He and his wife waited for 30-45 minutes, got impatient,

and left to go to another hospital. Shortly after arrival at that hospital, Mr. Brubaker was

diagnosed as having a myocardial infarction. He was transferred to another facility for an

angiogram, where three stents were placed. Mr. Brubaker alleges in his lawsuit that his

myocardial infarction was due to his use of Androderm.

       Mr. Brubaker had multiple risk factors for myocardial infarction before he was prescribed

Androderm. Mr. Brubaker had a history of obesity, diabetes, uncontrolled hypertension, and

hypercholesterolemia. He also was a smoker at the time of his myocardial infarction.

       C.      The Martin Case

       Plaintiff Brad Martin was born November 22, 1960. He is married with two children. He

is a resident of Sauk Rapids, Minnesota. Mr. Martin was 51 years old at the time he received his

first prescription for Androderm on October 19, 2012. He was prescribed a 2mg testosterone

patch by his treating physician, Dr. Stephen Firestone, after reporting lack of energy, fatigue, and

decreased libido and sex drive. His total testosterone level was measured at 345 ng/dl on

October 19, 2012. Mr. Martin’s prescription was filled at the St. Cloud VA Medical Center

Pharmacy with Androderm.
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       Mr. Martin alleges he was using Androderm on a daily basis when on May 25, 2013, he

was diagnosed as having a myocardial infarction. He initially reported to the emergency room

with complaints of burning and chest discomfort. He was transferred to another facility and was

taken to the catheterization lab. A stent was placed in his left anterior descending artery due to

90-95% occlusion of that vessel. Mr. Martin was hospitalized for two days and then discharged

in stable condition. Mr. Martin alleges in his lawsuit that his myocardial infarction was due to

his use of Androderm. He continued to use Androderm for several months after his myocardial

infarction.

       Prior to his myocardial infarction, Mr. Martin had multiple risk factors for a heart attack,

including hypertension, hypercholesterolemia, elevated triglycerides, obesity, and a history of

smoking and significant alcohol use. He also had a family history of multi-vessel coronary

artery disease and stroke.

II.    ACTAVIS DEFENDANTS’ PROPOSED TRIAL CASE

       Actavis Defendants request that the Court select the Brubaker case as the Actavis-only

case set for the August 6, 2018, trial setting. The Brubaker and Martin cases have a number of

similarities. Both plaintiffs claim to have suffered a myocardial infarction due to their use of

Androderm. Over 70% of the Actavis-only cases pending in the TRT MDL involve a claim of

cardiovascular injury, many of which are myocardial infarction cases. Further, both Brubaker

and Martin allege Androderm was the only TRT product they used prior to their injury. Neither

of them requested Androderm. Mr. Brubaker and Mr. Martin also were both under the age of 65

at the time they used Androderm. Both had multiple risk factors for myocardial infarction prior

to using Androderm.

       However, Actavis Defendants contend that the Brubaker case is the case that is most

appropriate for selection by the Court for the Actavis-only bellwether trial setting because Mr.
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Brubaker’s pre-treatment testosterone level was below the lower end of the normal concentration

range (300 – 1030 ng/dl) stated in the Androderm package insert. Mr. Martin’s pretreatment

level, however, was within the normal concentration range. Actavis Defendants submit that a

case involving a plaintiff with a pretreatment level below the normal concentration range, like

Mr. Brubaker, is a more representative and appropriate case to select for the trial setting.

       Moreover, selection of the Brubaker case should not raise any concerns for the PSC. The

Brubaker case is the only case that both the PSC and Actavis Defendants have affirmatively

selected for inclusion in the bellwether process. In accordance with Case Management Order

No. 37, the PSC selected three Bellwether Cases for core discovery work-up and for potential

selection as the Actavis Bellwether Trial Case. The Brubaker case was one of the three cases

initially selected by the PSC. Presumably, the PSC evaluated the Brubaker case at the time they

selected it and determined it would be appropriate for core-discovery work-up and potential

selection as the Actavis Bellwether Trial Case.

       After taking core-discovery in the Brubaker case, Actavis Defendants also determined

that the circumstances of Mr. Brubaker’s case and his claims against Actavis Defendants are

representative of the inventory of cases in the TRT MDL against Actavis Defendants. Mr.

Brubaker’s use of Androderm, his exposure (or lack thereof) to Androderm marketing, his

alleged injury, and his medical history are similar to a significant number of plaintiffs in other

cases filed against Actavis Defendants in the TRT MDL. Therefore, the Brubaker case is

uniquely qualified to be selected for the trial setting on August 6, 2018, because plaintiff’s

testosterone level was below the normal range and because it is the only case that has been

identified as representative and selected by both the PSC and Actavis Defendants.




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III.   CONCLUSION

       For the foregoing reasons, Actavis Defendants request that the Court select the Brubaker

case as the Actavis-only case set for the bellwether trial in the TRT MDL on August 6, 2018.

Actavis Defendants further request that the Court designate the Martin case as the Actavis-only

Alternate Bellwether Trial Case.

Dated: December 22, 2017                           Respectfully submitted,



                                                   /s/ Jeffrey D. Geoppinger
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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 22, 2017, I electronically filed the foregoing document

with the Clerk of Court using the CM/ECF system which will send notification of such filing to

the CM/ECF participants registered to receive service in this MDL.


                                                   /s/ Jeffrey D. Geoppinger




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